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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF VIRGINIA
                               ALEXANDRIA DIVISION

  BMG RIGHTS MANAGEMENT (US) LLC,
  et al.,
                Plaintiffs,
                                                Civil No. 1:14-cv-1611 (LO / JFA)
                v.

  COX COMMUNICATIONS, INC, et al.,

                        Defendants.


   DEFENDANTS’ MOTION IN LIMINE TO PRECLUDE PLAINTIFF’S COUNSEL
  FROM MAKING ARGUMENTATIVE AND INFLAMMATORY STATEMENTS AND
         LEGAL CONCLUSIONS DURING OPENING STATEMENTS


        Defendants respectfully move this Court to preclude Plaintiff’s counsel from making

 argumentative and inflammatory statements and legal conclusions during its opening statement.

 Defendants state the specific grounds for their motion in their accompanying Memorandum of

 Law in Support of Their Motion in Limine to Preclude Plaintiff’s Counsel from Making

 Argumentative and Inflammatory Statements and Legal Conclusions During Opening Statements.



 Dated: July 20, 2018                               Respectfully submitted,

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                                CERTIFICATE OF SERVICE

        I certify that on July 20, 2018, a copy of the foregoing Defendants’ Motion in Limine to

 Preclude Plaintiff’s Counsel from Making Argumentative and Inflammatory Statements and

 Legal Conclusions During Opening Statements was filed electronically with the Clerk of Court

 using the ECF system which will send notifications to ECF participants.



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